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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

BASF PLANT SCIENCE, LP,                    )
                                           )
                       Plaintiff,          )
                                           )
                v.                         ) C.A. No. 17-421 (VAC)(CJB)
                                           )
NUSEED AMERICAS INC.,                      ) CONFIDENTIAL –
                                           ) FILED UNDER SEAL
                       Defendant.          )

                     PLAINTIFF’S ANSWERING BRIEF IN OPPOSITION
                         TO DEFENDANT’S MOTION TO DISMISS

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I.     NATURE AND STAGE OF PROCEEDINGS

       Plaintiff BASF Plant Science, LP (“BASF”) filed this action against Defendant Nuseed

Americas Inc. (“Nuseed Americas”)        on April 13,    2017, seeking a declaration of patent

invalidity. After taking a lengthy extension of time, rather than responding to the Complaint,

Nuseed Americas filed a threshold motion to dismiss, contending, first, that BASF has sued the

wrong party, arguing alternatively that Nuseed Pty, Ltd. (“Nuseed Pty”), Commonwealth

Scientific and Industrial Research Organization (“CSIRO”), and/or Grains Research and

Development Corporation (“GRDC”), all Australian entities, should be named as defendants.

Second, Nuseed Americas argues that, in any event, there is no ripe dispute amenable to

declaratory judgment jurisdiction. This is BASF’s answering brief in opposition to that motion.

II.    SUMMARY OF ARGUMENT

       Nuseed Americas’ motion should be denied because BASF has sued the correct party.

For nearly a year, BASF has been negotiating patent licensing issues with Nuseed Americas

alone, at the express instruction of the patentees, who are both divisions of the Australian

government, and who identified Nuseed—including Nuseed Americas—as its exclusive licensee.

Nuseed Americas cannot now deny what it (and CSIRO and GRDC) represented to BASF; nor

can it deny its pivotal role in these licensing discussions. Moreover, Nuseed Americas has not

submitted any competent evidence to the contrary. In view of the evidentiary shortcomings in

the declaration submitted in support of Nuseed Americas’ motion, the motion should either be

denied outright, or BASF should be permitted discovery on the factual issues raised by the

motion.

       Second, under the current standard for declaratory judgment jurisdiction – as articulated

by the Supreme Court and as applied by the Federal Circuit – there is a substantial controversy,




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between adverse parties, of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment. See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007). That

dispute continues to this day, and the fact that the parties have continued to communicate neither

negates the existence of that dispute nor retroactively undermines this court’s declaratory

judgment jurisdiction.

III.    STATEMENT OF FACTS

        BASF filed this action for declaratory judgment of patent invalidity on April 13, 2017.

[D.N. 1]. Earlier that day, BASF and Nuseed Americas had held their seventh substantive

meeting since October 2016.       Declaration of Andry Andriankaja in Support of BASF’s

Opposition to Motion to Dismiss (“Andriankaja Decl.”) at ¶¶ 8, 10.

        Although the meetings were convened to discuss business arrangements more broadly

relating to genetically modified plant-based omega-3 fatty acid production (and in particular,

BASF’s plans to commence production in the U.S.), the primary item of discussion – and

primary sticking point in the negotiations – related to Nuseed Americas’ demand that BASF take

a license to CSIRO-owned patents, primarily the patents-in-suit, on terms that were unacceptable

to BASF. Andriankaja Decl. at ¶¶ 8-10. CSIRO and its sister-entity GRDC communicated to

BASF that Nuseed, specifically including Nuseed Americas, was the exclusive licensee of the

CSIRO/GRDC patents, and that Nuseed Americas was fully authorized to negotiate licenses or

other arrangements concerning those patents on behalf of all interested parties. Id. at ¶ 8, Exhs.

D, E.

        During the course of the negotiations between BASF and Nuseed Americas, Nuseed

Americas’ representatives repeatedly told BASF that if a deal were not reached concerning

genetically modified plant-based omega-3 fatty acid production, Nuseed Americas would




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“block” BASF in the U.S. “by all means.” Id. at ¶ 9. BASF’s representatives understood this to

be a threat that Nuseed Americas might use a variety of measures, including patent litigation, in

an effort to prevent BASF from commencing such production in the U.S. Id. at ¶¶ 9-11.

       Therefore, once it became clear at the April 13, 2017 meeting between BASF and Nuseed

Americas that the parties’ negotiation positions were entrenched and remained far apart, both

sides acknowledged that litigation was a logical imminent next step. Id. at ¶ 10.

IV.    ARGUMENT

       Nuseed Americas raises two main arguments in its Motion to Dismiss: (1) that Nuseed

Americas is not a proper party, and (2) that in any event, there is no ripe dispute. Both

arguments fail, as explained in detail below.

       A.      Nuseed Americas is a Proper Defendant.

               1.     As Between Nuseed Pty, Ltd. and Nuseed Americas, Nuseed Americas
                      is a Proper Defendant.

       First, Nuseed Americas argues that Nuseed Pty, Ltd. (“Nuseed Pty”), not Nuseed

Americas, is the exclusive licensee to the patents-in-suit. Motion to Dismiss, D.I. 10, at 2-3. In

support of this argument, Nuseed Americas submits the Declaration of Andrew Bruce Thomas

(“Thomas Decl.”, D.I. 11). Mr. Thomas identifies himself as a manager with Nuseed Americas,

asserts that “Nuseed Americas does not have any right, title or interest in any of the patents-in-

suit,” and then identifies Nuseed Pty. as “the exclusive licensee of the patents-in-suit” before

going on to characterize the scope of the purported license to Nuseed Pty. Thomas Decl. ¶¶ 1, 5,

6. Mr. Thomas neither quotes actual language from any CSIRO/Nuseed license agreement, nor

attaches any of the relevant documents to his declaration.     See generally Thomas Decl. His

declaration on this point is therefore inadmissible hearsay (Fed. R. Evid. 801, 802) and appears

to also lack foundation concerning the terms of a license agreement that he contends grants no



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rights to his company (Fed. R. Evid. 602).             These assertions are therefore insufficient to

overcome the presumption in ruling on a Motion to Dismiss that the allegations set forth in the

Complaint are presumed to be true. E.g., Gimaex Holding, Inc. v. Spartan Motors USA, Inc.,

C.A. No. 15-515-RGA, 2015 WL 9437530, *4 (D. Del. Dec. 22, 2015) (“[O]n

a motion to dismiss, ‘all allegations of jurisdictional fact made by a plaintiff are presumed to

be true and all factual disputes are resolved in plaintiff's favor.’”) (citing Jeffreys v. Exten, 784 F.

Supp. 146, 151 (D. Del.1992)).

        Contrary to Mr. Thomas’ representations, Nuseed Americas has been directly involved in

negotiations over proposed licensing of the patents-in-suit, as evidenced by not only its

participation in negotiation meetings as the sole representative of Nuseed/CSIRO/GRDC, but

also its execution of a September 2016 Confidentiality Agreement with BASF, and a subsequent

letter from GRDC, dated January 16, 2017, representing that “Nuseed Pty Ltd. and its affiliates

(e.g., Nuseed Americas Inc., collectively, ‘Nuseed’)” is the exclusive licensee of relevant patents

from CSIRO and GRDC. Andriankaja Decl. at ¶ 8, Exhs. B, D, E.

        At a minimum, BASF should be permitted to conduct jurisdictional discovery on the

topic of who holds the rights to the patents at issue. See, e.g., Moretti v. Hertz Corp., C.A. No.

14-469-LPS, 2015 WL 1383097 (D. Del. 2015); LG.Phillips LCD Co., Ltd. v. Chi Mei

Optoelectronics Corp., 551 F. Supp. 2d 333 (D. Del. 2008).

                2.      As Between Nuseed and CSIRO/GRDC, This Action Can Proceed
                        Against Nuseed Only.

        Nuseed Americas further argues that, even assuming Nuseed Pty is added as a defendant,

CSIRO and GRDC are necessary parties, as the patent owners. Noting Nuseed America’s

uncertainty whether Nuseed Pty, CSIRO and/or GRDC would be subject to personal jurisdiction,

Nuseed Americas nonetheless argues that CSIRO and GRDC are indispensable parties, and that



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the action “may not proceed without these necessary parties.” D.I. 10 at 3, 7. Although Rule 19

uses “necessary” and “indispensable” as two conceptually distinct standards, Nuseed Americas’

motion equates and conflates the two terms.

       This   Court    specifically   addressed       the   distinction   between   “necessary”   and

“indispensable” in Amgen, Inc. v. Ariad Pharm., Inc., 513 F. Supp. 2d 34 (D. Del. 2007). 1 In

Amgen, this Court held that for a motion to dismiss under Rule 19 to succeed, the party must not

only be necessary, but also indispensable. Amgen had filed a declaratory judgment action for

patent invalidity against Ariad Pharmaceuticals, the exclusive licensee of the patents. Ariad

moved to dismiss for failure to name the patent owners (Harvard, MIT and the Whitehead

Institute, collectively the “Institutions”) as necessary and indispensable parties that were outside

the personal jurisdiction of the court. This Court denied Ariad’s motion, holding that although

the Institutions were necessary parties under Rule 19(a) of the Federal Rules of Civil Procedure,

they were not indispensable under Rule 19(b). Id. at 42 (citing Independent Wireless Telegraph.

Co. v. Radio Corp. of Am., 269 U.S. 459, 469 (1926); Abbott Laboratories v. Diamedix Corp., 47

F.3d 1128, 1133 (Fed. Cir. 1995)). Balancing the factors set forth in Rule 19(b), this Court

found no prejudice to the Institutions, concluding that it “fails to see how a judgment could be

prejudicial to the Institutions. If the Institutions believe they will be prejudiced, they can

voluntarily join the action.” Amgen, 513 F. Supp. 2d at 43 (citation omitted). The court also

found that the other factors also did not warrant dismissal: Ariad’s interests were adequately

protected, that Amgen’s interests would be preserved; a judgment in the absence of the

1
    In addition, if an exclusive licensee has such substantial rights under the patent as to be a
    virtual assignee, then the patent owner may not even be a necessary party. See, e.g., Vaupel
    Textilmaschinen KG v. Meccania Euro Italia S.p.A., 944 F.2d 870, 875 (Fed. Cir. 1991);
    Bushnell, Inc. v. Brunton Co., 659 F. Supp. 2d 1150, 1165 (D. Kan. 2009) (citing Israel Bio-
    Eng’g Project v. Amgen, Inc., 475 F.3d 1256, 1264-1265 (Fed. Cir. 2007)); THK America,
    Inc. v. NSK, Ltd., 157 F.R.D. 660, 661 (N. D. Ill. 1994).


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Institutions would be adequate; and even the existence of an alternative forum did not warrant

dismissal. Id. at 43-45. See also United Lacquer Mfg. Corp. v. Maas & Waldstein Co., 111 F.

Supp. 139, 144 (D.N.J. 1953) (in declaratory judgment action against exclusive licensee, patent

owner was necessary but not indispensable party).

          As to the question whether CSIRO and GRDC are indispensable and necessary parties

within the meaning of Rule 19, the Amgen ruling is on all fours. If anything, the Rule 19(b)

factors weigh even more heavily against dismissal here, based on Nuseed Americas’

representations that CSIRO and GRDC are all non-US entities that may not subject to personal

jurisdiction. Moreover, all four elements of the Rule 19(b) balancing test support proceeding

with this Action. Nuseed Americas’ interests would be adequately protected by litigating in

Delaware, its place of incorporation of Nuseed Americas; BASF’s interests would also be

preserved; a judgment in the absence of CSIRO/GRDC would be adequate; and even the

existence of a possible alternative forum 2 does not warrant dismissal. Just as the Institutions in

Amgen, if CSIRO and GRDC believe they will be prejudiced, they can voluntarily join this

action.

          The Amgen ruling has been followed numerous times in this District. E.g., Retzlaff v.

Horace Mann Ins., 738 F. Supp. 2d 564, 568 (D. Del. 2010) (“If the court finds that a party is

necessary, it ‘must determine whether the action can proceed in their absence, which requires an



2
    As discussed below, pursuant to 35 U.S.C. § 293, patentees CSIRO and GRDC would be
    subject to personal jurisdiction in the Eastern District of Virginia. However, it is not clear
    whether Nuseed Americas (or, for that matter, Nuseed Pty.) would be subject to personal
    jurisdiction in that district. Therefore, a transfer to the Eastern District of Virginia, while
    theoretically possible as discussed below, risks prejudice to BASF’s interests because
    CSIRO/GRDC could be expected to point to the Nuseed “empty chair” in litigation there,
    just as Nuseed Americas has pointed to the CSIRO/GRDC “empty chair” in the present
    Motion to Dismiss. Such a future motion could prejudice BASF, leaving it without forum to
    seek a declaratory judgment remedy.


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analysis of the four factors under Rule 19(b).’”) (citation omitted); Shinonogi Pharma. Inc., v.

Mylan, Inc., C.A. No. 10-1077-MMB, 2011 WL 2174499, *5 (D. Del. May 26, 2011) (quoting

Amgen and Intellectual Prop. Dev., Inc. v. TCI Cablevision, Inc., 248 F.3d 1333, 1347 (Fed. Cir.

2001) as “holding that under license agreement between patent holder and exclusive licensee,

patentees were necessary but not indispensable parties to the litigation.”).

       In its Motion to Dismiss, Nuseed Americas appears to conflate “necessary” with

“indispensable,” erroneously applying the test for whether a party is “necessary” as determining

that CSIRO and GRDC are “indispensable.” See Fed. R. Civ. P. 19; compare Brief at 6-8. The

cases cited by Nuseed Americas do not support this conflation.             Nuseed Americas cites

Erbamont, Inc. v. Cetus Corp. as holding: “[i]f a party is deemed necessary under Rule 19(a), but

cannot be joined because it is not subject to process, then the court must consider, upon

application of Rule 19(b), whether the party is indispensable and dismissal is appropriate.” 720

F. Supp. 387, 393 (D. Del. 1989) (citations omitted). Nuseed America’s analysis on whether

Nuseed Pty. Ltd. is indispensable erroneously applies the test for a “necessary” party as outlined

in Rule 19(a) and Erbamont (“A patent owner should be viewed as a necessary party if it retains

‘any interest’ in the patent”) and fails to properly apply the four-part test for an “indispensable”

party under Rule 19(b), as applied in Erbamont and Amgen.              Fed. R. Civ. P. 19(b); see

Erbamont, 720 F. Supp. at 393-96.

               3.      Nuseed Americas Fails to Establish A Limited Scope of the Nuseed
                       Exclusive License

       Finally, Nuseed Americas argues that Nuseed’s exclusive license is “only in the field of

plant based production of long chain omega-3 oil in genetically modified canola seed.” Thomas

Decl. ¶ 6; see also D.I. 10 at 2-3. Mr. Thomas does not attach a copy of the license agreement to

his declaration. Nor does he explain what Nuseed Americas contends would be covered by the



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patents-in-suit, other than “plant based production of long chain omega-3 oil in genetically

modified canola seed,” which is the subject-matter of the present dispute. Thus, as noted above,

Mr. Thomas’ characterization of the exclusive license agreement is inadmissible hearsay and

appears to lack foundation according to the allegations set forth in Mr. Thomas’ own declaration.

       Moreover, contrary to his assertion that there is a field-of-use limitation on the scope of

the exclusive license, the context of the press release itself (http://nuseed.com/corporate-

news/australian-scientific-collaboration-set-break-worlds-reliance-fish-long-chain-omega-3/) and

GRDC’s and CSIRO’s January 2017 letters (Andriankaja Decl. Exhs. D, E) are instead

suggestive that the CSIRO/GRDC-Nuseed collaboration broadly relates to “plant based

production of long chain omega-3 oil in genetically modified canola seed,” including, in the

words of the press release, “a global exclusive commercial license to Nuseed for existing and co-

developed long chain omega-3 intellectual property.”

       In short, there is no competent evidence in the record, including Nuseed Americas’

Motion to Dismiss or the Thomas Declaration, to refute the presumed truth of the allegations in

the Complaint concerning the existence and scope of the exclusive license between

CSIRO/GRDC and Nuseed.          Accordingly, for the purpose of ruling on Nuseed Americas’

Motion to Dismiss, the allegations in the Complaint must be taken as true, and the Nuseed

exclusive license must be presumed to be an exclusive license of all substantial rights to the

patents-in-suit. As such, Amgen is directly on point. Alternatively, at a minimum, there should

be discovery on this issue prior to considering any dismissal.




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       B.      This Court has Declaratory Judgment Jurisdiction Over This Dispute.

       Next, Nuseed Americas argues that there is no justiciable controversy sufficient to

support BASF’s invocation of this Court’s declaratory judgment jurisdiction, because “there is

no history of any actual or threatened litigation between the parties. The patents-in-suit were

issued between 2010 and 2016, and none have been asserted in any litigation. Since 2013, BASF

and CSIRO have been engaged in business discussions generally about genetically modified crop

production of omega-3 oil, and Nuseed Americas joined these talks in 2016.” D.I. 10 at 9.

Nuseed Americas also purports to find a lack of case-or-controversy in (i) the fact that BASF

only seeks a declaration of invalidity (and not non-infringement), (ii) the assertion that Nuseed

Americas has never “expressly or impliedly stated that patent litigation would be inevitable”; and

(iii) the fact that there have been further negotiations after the filing of BASF’s Complaint.

       Respectfully, Nuseed Americas’ position applies the wrong legal standard, and materially

misstates the facts.

               1.      The Law Concerning Declaratory Judgments

       Under the Declaratory Judgment Act, “In a case of actual controversy within its

jurisdiction, … any court of the United States, upon the filing of an appropriate pleading, may

declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). In 2007, the Supreme

Court clarified that the test is “whether the facts alleged, under all the circumstances, show that

there is a substantial controversy, between parties having adverse legal interests, of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment.” MedImmune, 549

U.S. at 127. As the Federal Circuit has repeatedly held since 2007, there need not be either an

actual infringement action filed, or even an express threat to file an infringement action, in order



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for there to be a ripe case or controversy under the Declaratory Judgment Act. Rather, “Article

III jurisdiction may be met where the patentee takes a position that puts the declaratory judgment

plaintiff in the position of either pursuing arguably illegal behavior or abandoning that which he

claims a right to do.” Arkema Inc. v. Honeywell Int’l, Inc., 706 F.3d 1351, 1357 (Fed. Cir. 2013)

(quoting SanDisk Corp. v. STMicroelectronics, Inc., 480 F.3d 1372, 1381 (Fed. Cir. 2007)).

       In Arkema, the Federal Circuit found a ripe declaratory judgment dispute where (1) the

declaratory judgment plaintiff had concrete plans to offer the accused product—albeit at least a

year in the future, and (2) the parties had already litigated patents covering the same technology

in the U.S. and Germany. 706 F.3d at 1357. The Federal Circuit specifically rejected the

proposition that it was necessary for there to have already been acts of putative infringement, or

even of specific accusations by the patentee of direct or indirect infringement. Id. Indeed, the

court made clear that the “reasonable apprehension of suit” test was no longer the law after

MedImmune. Id. at 1358 n.5.

       There is no requirement that litigation must be explicitly threatened for a plaintiff to

establish that there is a justiciable case or controversy for a declaratory judgment. See 3M Co. v.

Avery Dennison Corp., 673 F.3d 1372, 1379 (Fed. Cir. 2012) (finding that communications using

“may infringe” instead of “does infringe” in offers to license patents were still sufficient to

constitute a case or controversy between 3M and Avery). See Hewlett–Packard v. Acceleron

LLC, 587 F.3d 1358, 1362 (Fed. Cir. 2009) (explaining that the purpose of a declaratory

judgment action cannot be defeated by avoiding “magic words” and noting that, post-

MedImmune, it is implausible to expect that correspondence from a patentee would “identify

specific claims, present claim charts, and explicitly allege infringement”). In SanDisk Corp., the

Court of Appeals hold that the dismissal was improperly granted because the district court erred




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as a matter of law by requiring an express accusation of patent infringement coupled with an

explicit threat of judicial enforcement to support declaratory judgment jurisdiction. 480 F.3d at

1377.

        Further, a declaratory judgment action that only seeks a declaration of invalidity has been

deemed appropriate. Erbamont, 720 F. Supp. at 391-92 (“In the standard declaratory judgment

action involving a patent, a person charged with patent infringement files suit against the patent

owner for a declaratory judgment of noninfringement and/or invalidity. The Act thus allows a

potential defendant in an infringement suit to take the initiative and file suit.”) Likewise, Nuseed

Americas seems to suggest that once declaratory judgment litigation has been commenced, any

further negotiations or discussions between the parties destroys the case-or-controversy that

prompted the declaratory judgment action.        This is wrong as a matter of law.        Samsung

Electronics Co., Ltd. v. ON Semiconductor Corp., 541 F. Supp. 2d 645, 649 (D. Del. 2008) (“The

continuation of licensing negotiations is not dispositive with regard to the existence of an actual

controversy.”).

                  2.   The Facts Here Demonstrate the Existence of a Substantial
                       Controversy, Between Parties Having Adverse Legal Interests, of
                       Sufficient Immediacy and Reality to Warrant the Issuance of a
                       Declaratory Judgment.

        Here, the facts fall squarely within the Arkema ruling. BASF has concrete plans to begin

production of plant-based omega-3 oils in the U.S. Andriankaja Decl. at ¶ 5. There is a history

of patent litigation between CSIRO and BASF concerning similar patents and technologies. Id.

at ¶ 4. Nuseed Americas has made specific monetary demands for a license to BASF, and BASF

has rejected those monetary demands.         In addition, the communications between Nuseed

Americas and BASF included thinly veiled, or even express, threats to commence patent

litigation. In particular, Nuseed Americas specifically stated that if a license agreement was not



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reached, it would “block” BASF in the U.S. “by all means.” Id. at ¶ 9. In the context of the

meetings, BASF understood this to mean that Nuseed Americas planned to use patent litigation

and other means to seek to prevent BASF from launching production in the U.S. Id. at ¶¶ 9-11.

Moreover, at the parties’ April 13, 2017 meeting, just prior to the filing of the Complaint,

Nuseed Americas’ representative stated, with regard to the parties’ competing proposed royalty

amounts, “There is no path forward with the numbers you’re saying.” Meanwhile, BASF

suggested that if Nuseed Americas was unwilling to reduce its demand, perhaps the parties had

reached an impasse and should be in court. Nuseed Americas’ representative stated, “Maybe

that’s where we’re at.” Id. at ¶ 10. BASF understood this to be a threat of imminent litigation.

Id. at ¶ 11. Nuseed Americas did nothing to correct BASF’s understanding that there was an

impasse, or to suggest that Nuseed Americas was the wrong party to conduct the licensing

negotiations. To the contrary, BASF was repeatedly assured that Nuseed Americas was the

proper party. Andriankaja Decl. at ¶ 13, Exhs. D, E. This is more than sufficient to support

declaratory judgment jurisdiction.

       C.      Nuseed Americas’ Request for Dismissal with Prejudice is Improper and
               Unfounded.

       Nuseed Americas’ request for dismissal with prejudice should be denied. Even if the

Court were to find merit in the Motion to Dismiss (which BASF disputes), leave to amend

should be granted, with leave to conduct discovery.

               1.     If Nuseed Americas’ Motion is Granted, Leave to Amend Should Be
                      Granted.

       A request for dismissal with prejudice is an extreme and rare sanction, which is

disfavored and should not be entertained here. See University of Pittsburgh v. Varian Med. Sys.,

Inc., 569 F.3d 1328, 1334 (Fed. Cir. 2009) (“Under Third Circuit law, dismissal with prejudice

may be, although it rarely is, a proper sanction.”) (citation omitted); Alvin v. Suzuki, 227 F.3d


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107, 122 (3d Cir. 2000) (noting that dismissal with prejudice “is a severe and disfavored

remedy”) (citations omitted); Blasband v. Rales, 971 F.2d 1034, 1055 (3d Cir.1992) (“Our case

law manifests a strong preference that plaintiffs be given leave to amend where amendment is

likely to cure the defects resulting in dismissal”) (citation omitted). Nuseed Americas offers no

argument or authorities in support of its request for dismissal with prejudice.

       Indeed, a dismissal with prejudice would produce the absurd result that BASF is unable

to obtain declaratory relief for a real and imminent threat of patent litigation, in the United

States, relating to U.S. patents, where the negotiations were conducted wholly in the United

States, because Nuseed Pty designated Nuseed Americas as its agent in those negotiations. If

Nuseed Americas, by now asserting that it has no standing concerning the patents, is now

asserting that it had no authority or basis to engage in licensing negotiations with BASF, then its

presence at those prior negotiations was misleading, to say the least. To the contrary, however,

the January 2017 letter makes clear that both Nuseed Pty and Nuseed Americas each had full

authority to negotiate a license on behalf of CSIRO and GRDC.

       Alternatively, to the extent the Court concludes that CSIRO and GRDC must be added as

parties because they are both necessary and indispensable under Rule 19(a)-(b), the Court should

grant leave to amend to add them as defendants, and/or transfer the case to the Eastern District of

Virginia pursuant to 28 USC § 1404(a). 3



3
    Day v. 21st Century Centennial Ins. Co., C.A. No. 12-1096-LPS, 2014 WL 3909533, at *1
    n.1 (D. Del. Aug. 11, 2014) (“The Third Circuit has not decided whether a district court may
    transfer venue under 28 U.S.C. § 1404(a) on its own motion. District Courts within this
    Circuit have held that when no motion to transfer to a more convenient venue has been filed,
    the Court may sua sponte transfer the case, but only after first providing the parties with an
    opportunity to brief the transfer issue. See, e.g., Johnson v. U.S. Bancorp, C.A. No. 10-1072-
    LPS, 2012 WL 1133689 (D. Del. Mar. 30, 2012); Bank Express Int'l v. Kang, 265 F. Supp.
    2d 497, 507 n.12 (E.D. Pa. 2003).”). Here, Nuseed Americas will have such an opportunity
    in its reply brief.


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       The Eastern District of Virginia would have jurisdiction over at least CSIRO and GRDC.

As patentees, CSIRO and GRDC are subject to personal jurisdiction for declaratory judgment

actions in that district. 35 U.S.C. § 293 (“Every patentee not residing in the United States may

file in the Patent and Trademark Office a written designation stating the name and address of a

person residing within the United States on whom may be served process or notice of

proceedings affecting the patent or rights thereunder. If the person designated cannot be found at

the address given in the last designation, or if no person has been designated, the United States

District Court for the Eastern District of Virginia shall have jurisdiction and summons shall be

served by publication or otherwise as the court directs. The court shall have the same jurisdiction

to take any action respecting the patent or rights thereunder that it would have if the patentee

were personally within the jurisdiction of the court.”).

V.     CONCLUSION

       For the reasons stated, Nuseed Americas’ motion to dismiss should be denied in its

entirety. In the alternative, BASF should be granted leave to amend and/or the case should be

transferred to the Eastern District of Virginia.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2017, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on July 28,

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